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 1   Vanessa R. Waldref
     United States Attorney
 2   Dan Fruchter
 3   Jeremy J. Kelley
     Assistant United States Attorney
 4   United States Attorney’s Office
 5   Eastern District of Washington
     Post Office Box 1494
 6   Spokane, WA 99210-1494
 7   Telephone: 509-835-6356
 8
 9
10                           UNITED STATES DISTRICT COURT
11                 FOR THE EASTERN DISTRICT OF WASHINGTON
12
13
14   UNITED STATES OF AMERICA                     CASE NO. 2:18-cr-00232-TOR
15
                               Plaintiff,         [Proposed] Order Granting Motion to
16                                                Forfeit Bond
17                      v.
18
19   WILLIAM OLDHAM MIZE, IV,
20                             Defendant.
21
22
23         Before the Court, without oral argument, is the Government’s Motion to
24   Forfeit Bond, ECF No. ___. Having reviewed the pleadings and the file in this
25   matter, and being fully informed, the Court grants the motion.
26         On January 9, 2019, Defendant posted a $750,000 unsecured appearance
27   bond. Defendant subsequently absconded from pretrial supervision in July 2019,
28

     [PROPOSED] ORDER GRANTING MOTION TO FORFEIT BOND - 1
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 1   in violation of the conditions of his release. Defendant’s whereabouts remained
 2   unknown until he was arrested in the Middle District of Florida in November 2023.
 3         The Court finds that Defendant breached his conditions of release and
 4   pursuant to Federal Rule of Criminal Procedure 46(f)(1), the Court declares the
 5   $750,000 bond forfeited. The Court does not find any reason to set aside the
 6   $750,000 bond forfeiture in whole or in part under Rule 46(f)(2).
 7         The government has requested the court enter a default judgment against
 8   Defendant, which the Court will do pursuant to Rule 46(f)(3). The Court finds no
 9   reason to remit in whole or part the judgment under Rule 46(f)(4).
10         Accordingly, IT IS HEREBY ORDERED
11         1. The Government’s Motion to Forfeit Bond, ECF No. ____, is
12            GRANTED.
13         2. The $750,000 unsecured bond Defendant agreed to on January 9, 2019, is
14            forfeited to the United States.
15         3. A $750,000 default judgment is hereby entered against Defendant
16         IT IS SO ORDERED. The Clerk’s Office is directed to enter this Order
17   and provide copies to all counsel.
18
19         DATED this ___ day of October, 2024.
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22                                               THOMAS O. RICE
23                                               United States District Judge
24
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     [PROPOSED] ORDER GRANTING MOTION TO FORFEIT BOND - 2
